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Attorr)eys for Defendanl

Sz‘eadfasz‘ /nsurance Compa/?y,
erroneous/y sued as Sz‘eadfasl`

/r)surance Corporal/'or)

UN|TED STATES D|STR|CT COURT
D|STR|CT OF NEVADA

JAl\/lES l-IOLLAND,
Plaintiff,
vs.
STEADFAST |NSURANCE
CORPORAT|ON, a Foreign Corporation;
DOES 1 through 10; ROE Entities 11
through 20, inclusive jointly and severally,

Defendants.

 

 

Pursuant to 28 U.S.C.§ 1441 (b), Defendant, Steadfast insurance Company
(“Steadfast”) erroneously sued as Steadfast insurance Corporation, by and through its
attorneys, Lewis Brisbois Bisgaard & Smith LLP, files this Petition for Remova| of Clark

County District Court Case No. A-18-770297-C styled ./ames /-/0//a/70' vs. Steadfast

/nsurance Corporat/'on, and states as follows:

1. On February 28, 2018, an action was commenced in the Eighth Judicia|
District Court, Clark County, State of Nevada, entitled ./arnes Ho//ana’ l/s. Steadfasz‘
/nsurar)ce Cor,ooraf/'on, Case No. A-18-770297-C (“State Court Action”). Copies of the

Comp|aint, Summons, and Proof of Service are attached hereto and marked respectively

4825-1947-9392,1

CASE NO. 2:18-cv-00623

PET|T|ON FOR RE|V|OVAL OF ACT|ON
UNDER 28 U.S.C. § 1441 (DIVERS|TY)

 

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as Exh/b/z‘sA, B, and C, constituting all of the papers and pleadings served on Defendant
Steadfast

2. Service of the Summons and Comp|aint upon Defendant Steadfast was
made by the Division of insurance on l\/larch 14, 2018.

3. This action is a civil action of which this Court has original jurisdiction under
28 U.S.C. § 1332, and is one which may be removed to this Court by Defendant
Steadfast pursuant to the provisions of 28 U.S.C. § 1441 (b) in that it is a civil action
between citizens of different states and the matter in controversy exceeds the sum of
$75,000.00, exclusive of interest and costs.

4. Venue is appropriate in the unofficial Southern District of the Court pursuant
to 28 U.S.C. §§ 1393 (b)(2) and (c), 1441 (a); and LR lA6-1.

5. in the State Court Action, the matter in controversy exceeds the sum of
$75,000.00, exclusive of interest and costs. The Comp|aint in this action contains
allegations that Steadfast failed to meet its contractual obligations to Plaintiff arising from
an insurance contract and that such actions constitute bad faith and violations of Nevada
Unfair C|aims Practices Act as it relates to Piaintiff’s underinsured motorist insurance
coverage. Upon information and belief, Plaintiff alleges bodily injuiy as a result of the
subject accident and alleges his claim warrants full payment of his $1,500,000.00
underinsured policy limits. Plaintiff’s Comp|aint seeks extra-contractual damages related
to alleged violations by Steadfast of Nevada’s Unfair Claims Practices Act and acts by
Steadfast which allegedly constitute bad faith. Plaintiff prays for general and special
damages, punitive damages, and attorney’s fees and costs, and punitive damages As
such, it is apparent from the type of damages alleged in the Comp|aint that the amount in
controversy exceeds the jurisdictional requirement of this Court.

6. Defendant Steadfast is informed and believes that Plaintiff was, at the time
of filing of the State Court Action, and still is, a resident of Clark County, State of Nevada.
Steadfast is a corporation organized and existing under the laws of the State of De|aware,

with its principal places of business in Dover, De|aware.

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7. Based on the foregoing, Defendant Steadfast respectfully submits that (a)
there is diversity of citizenship between Plaintiff and Defendant Steadfast and (b) the
amount in controversy exceeds $75,000.00. This action is, therefore properly removed to
the United States District Court for the District of Nevada.

DATED this 9_t_h day of April, 2018.

LEW| B |SBK@ & l\/|lTH LLP

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Case 2:18-cv-00623-RFB-CWH Documentl Filed 04/10/18

L|ST OF EXH|B|TS

Exhibit “A” Comp|aint
Exhibit “B” Summons
Exhibit “C” Proof of Service

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CERT|FICATE OF SERV|CE
Pursuant to F.R.C.P. 5(b), l certify that l am an employee of LEWiS BR|SBOiS
BiSGAARD & Sl\/llTH LLP, and that on this lOL day of April, 2018, l did cause a true and
correct copy of PETlTlON FOR REMOVAL OF ACT|ON UNDER 28 U.S.C. § 1441
(DlVERSiTY) in James Holland v. Steadfast insurance Corporation, United States District
Court Case No. 2:18-cv-00623, to be sen/ed via electronic service by the U.S. District
Court Cl\/l/ECF system to the parties on the Electronic Filing System.

Samantha A. l\/lartin, Esq. Samantha.l\/lartin@richardharrislaw.com
RlCHARD HARR|S LAW FlRl\/l

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Las Vegas, Nevada 89101

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A ftorney for P/a/'nt/')f‘

By time

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